      Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                             No. 3D23-1185
                        Lower Tribunal No. 20-3764
                           ________________


     Homeowners Choice Property &amp; Casualty Insurance
                    Company, Inc.,
                                  Appellant,

                                     vs.

                             Dina Loo, et al.,
                                 Appellees.



    An Appeal from the Circuit Court for Miami-Dade County, Valerie R.
Manno Schurr, Judge.

    Cole, Scott &amp; Kissane, P.A., and Mark D. Tinker and Brandon J. Tyler
(Tampa), for appellant.

     The Nation Law Firm, Mark A. Nation and Paul W. Pritchard
(Longwood), for appellees.


Before EMAS, GORDO and LOBREE, JJ.

     PER CURIAM.
     Affirmed. See People’s Tr. Ins. Co. v. Armenteros, 49 Fla. L. Weekly

D932 (Fla. 3d DCA May 1, 2024); Citizens Prop. Ins. Corp. v. Rodriguez, 49

Fla. L. Weekly D593 (Fla. 3d DCA March 13, 2024); Tower Hill Prime Ins.

Co. v. Bermudez, 388 So. 3d 165 (Fla. 3d DCA 2023).



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